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The Full Commission, based upon the record of the proceedings before Deputy Commissioner W. Bain Jones, Jr. and the briefs and oral arguments on appeal, reviewed this matter. The appealing party has shown good ground to reconsider the evidence. Having reconsidered the evidence, the Full Commission REOPENS the record for the taking of an independent medical evaluation regarding the condition of the plaintiff's right knee, and for a medical determination of whether she is physically capable of performing the normal duties associated with a position as a childcare provider. The defendant shall pay the costs of this examination. The examining physician will be selected by the Full Commission following a referral of this matter to, and the receipt of recommendations from Ms. Margaret Dunn, Head of the Industrial Commission's Nurse's Section.
The defendant shall pay the costs.
                                  S/_______________ CHRISTOPHER SCOTT COMMISSIONER
CONCURRING:
  S/____________ BUCK LATTIMORE CHAIRMAN
  S/_______________ LAURA K. MAVRETIC COMMISSIONER